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                      UNITED STATES DISTRICT COURT
                        DISTRICT OF MASSACHUSETTS
____________________________________
                                     )
UNITED STATES OF AMERICA             )
                                     )
            v.                       )  Criminal No. 19-CR-10081
                                     )
GORDON ERNST, et al.,                )
                                     )
                  Defendants.        )
____________________________________)

       DECLARATION OF NINA MARINO IN RESPONSE TO DONNA HEINEL
            VIOLATION OF CONDITIONS OF PRETRIAL RELEASE

I, NINA MARINO, hereby declare and state as follows:

   1. I am an attorney licensed to practice in the State of California. I am one of the attorneys

representing Dr. Donna Heinel in this matter and am admitted to the District of Massachusetts

Pro Hac Vice.

   2. On March 25, 2019, Dr. Heinel was placed on pretrial release. Her conditions of release

included (1) travel restricted to the United States, and (2) travel away from home permitted with

advance notice to pretrial services. (Dkt. 96.)

   3. For three years and eight months, Dr. Heinel has not suffered a single violation of her

conditions of pretrial release and has remained in full compliance.

   4. On November 23, 2022, a Summons was issued by this Court for Dr. Heinel to appear on

November 29, 2022, in connection with a violation of the conditions of pretrial release. The

violation is due to Dr. Heinel going on a Disney cruise with her wife and children without prior

approval. The cruise is to 3 ports in Mexico. When contacted by PTS on November 22, 2022, Dr.

Heinel was immediately reachable and provided her itinerary to PTS. Dr. Heinel will appear

before this Court as instructed on November 29, 2022, without fail.



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   5. When Dr. Heinel learned that the Disney cruise was going to Mexico she asked Disney if

that meant she would be leaving the United States. She was informed that if she did not

disembark, she would not be leaving the United States. She was further informed that she would

not need a passport if she did not intend to disembark. Dr. Heinel does not have her passport.

   6. On November 22, 2022, I spoke telephonically with PO Martha Victoria. Ms. Victoria

told me that “people don’t realize that being on international waters is being outside of the

country.” Ms. Victoria also told me she was “kind of surprised” because Dr. Heinel has been in

“full compliance,” including notifying PTS of her home move, and there have been no other

issues.

   7. On November 22, 2022, I also spoke with Dr. Heinel, and I make the following

statements based on information and belief without waiving the attorney-client privilege.

       •    The cruise was presented to Dr. Heinel by her wife as a family getaway for the

            children for the Thanksgiving holiday.

       •    Dr. Heinel spoke with Disney cruise who informed her that if she did not intend to

            disembark in Mexico, she would not need a passport and would not be leaving US

            territory.

       •    Dr. Heinel does not have her United States passport with her and is informed by

            Disney guest services (on the boat) that she therefore cannot disembark from the boat

            to fly back to Los Angeles; if she could, she would.

       •    Dr. Heinel did not deliberately violate the Court ordered conditions of her release.

            She inadvertently did so. Dr. Heinel has the utmost respect for the Court and did not

            violate her conditions of release as a sign of disrespect.




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   8. I am aware that since being on pretrial supervision, Dr. Heinel has traveled away from

home to Pennsylvania to visit her aging mother and to visit her sister, to Florida to attend doctor

appointments scheduled by my office in connection with this matter, and other California

locations to be with her family. I did not advise Dr. Heinel that she needed prior approval from

PTS to make this travel as I was mistakenly operating under the belief that her unrestricted

United States travel controlled. I was clearly incorrect. For this, I apologize to the Court. I take

responsibility for Dr. Heinel going on the Disney cruise without prior PTS permission because I

never told her she needed advance pretrial permission to travel away from home. I did not realize

it was required.

I declare under penalty of perjury the foregoing is true and correct.

Executed on November 22, 2022, in Los Angeles, California.



                                                               _______/s/_______
                                                                  Nina Marino




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